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                                                                                    2020 Jun-30 PM 05:18
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

 JUSTIN HEATH WEBSTER,                      )
                                            )
       Plaintiff,                           )
                                            )
 v.                                         )    Case No. 5:20-cv-00192-MHH-HNJ
                                            )
 SEAN M. STACY,                             )
                                            )
       Defendant.                           )

                             ORDER OF DISMISSAL
      On February 13, 2020, the magistrate judge ordered Mr. Webster to pay an

initial partial filing fee of $4.67 and to return a signed Prisoner Consent Form to the

Clerk of Court within 30 days. (Doc. 3). Mr. Webster returned the Prisoner Consent

Form, but he did not pay the initial partial filing fee. (Doc. 4). On May 7, 2020, the

magistrate judge ordered Mr. Webster to pay the initial partial filing fee within 15

days and notified Mr. Webster that failure to do so could result in the dismissal of

his action. (Doc. 5). Mr. Webster did not pay the initial partial filing fee or otherwise

respond to the magistrate judge’s order, so the magistrate judge entered a report on

June 4, 2020, recommending this action be dismissed without prejudice due for

failure to prosecute. (Doc. 6). Fourteen days have passed since the magistrate judge

issued his report, and the Court has not received objections from Mr. Webster,
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though the magistrate judge advised Mr. Webster of his opportunity to object. (Doc.

6, p. 2).

       Having reviewed and considered the materials in the court record, including

the report and recommendation, the Court adopts the magistrate judge’s report and

accepts his recommendation. The Court dismisses this action without prejudice for

failure to prosecute.

       For information regarding the cost of appeal, see the attached notice.

       DONE and ORDERED this June 30, 2020.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE




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                               3
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                                United States Court of Appeals
                                          Eleventh Circuit
                                       56 Forsyth Street, N.W.
                                       Atlanta, Georgia 30303

David J. Smith                                                        In Replying Give Number
Clerk of Court                                                      of Case and Names of Parties


         NOTICE TO PRISONERS CONCERNING CIVIL APPEALS

       The Prison Litigation Reform Act of 1995 (effective April 26, 1996) REQUIRES that all
prisoners pay the Court’s $500.00 docket fee plus $5.00 filing fee (for a total of $505.00) when
appealing any civil judgment.

        If you wish to appeal in a civil case that Act requires that upon filing a notice of appeal
you either:

       (1)       Pay the total $505.00 fee to the clerk of the district court from which
                 this case arose; or

       (2)       arrange to have a prison official certify to the district court from
                 which the appeal arose the average monthly deposits and balances
                 in your prison account for each of the six months preceding the filing
                 of a notice of appeal.

        If you proceed with option (2) above, the Act requires that the district court order you to
pay an initial partial fee of at least 20% of the greater of either the average monthly deposits or
of the average monthly balances shown in your prison account. The remainder of the total $505.00
fee will thereafter be deducted from your prison account each month that your account balance
exceeds $10.00. Each such monthly deduction shall equal 20% of all deposits to your prison
account during the previous month, until the total $505.00 fee is paid. (If your prison account
statement shows that you cannot pay even the required initial partial fee, your appeal may
nevertheless proceed, BUT THE TOTAL $505.00 FEE WILL BE ASSESSED AGAINST AND
WILL BE DEDUCTED FROM FUTURE DEPOSITS TO YOUR PRISON ACCOUNT.)

        Fees are not refundable, regardless of outcome, and deductions from your prison account
will continue until the total $505.00 fee is collected, even if an appeal is unsuccessful.


                                                                        David J. Smith
                                                                        Clerk of Court

                                                                                           PLRA Notice


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